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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 Anuj Thapa,                                              Civil File No: 19-cv-2568 (TNL)

            Plaintiff,

 v.
                                                    STIPULATION OF PARTIAL
                                                      DISMISSAL WITHOUT
 St. Cloud Orthopedic Associates, Ltd.
                                                    PREJUDICE OF DEFENDANT
 and CentraCare Health System,
                                                  CENTRACARE HEALTH SYSTEM
            Defendants.


      IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff and

Defendant CentraCare Health System, that Plaintiff’s claims in the above-entitled action

against defendant CentraCare Health System are hereby dismissed without prejudice and

without costs and disbursements to any party. No monies have been paid in support of this

Stipulation. The parties further agree that the Court may enter its Order pursuant to this

Stipulation of Dismissal as to Defendant CentraCare Health System without further

appearance of any party.

 Dated: 2/4/22                               CIRESI CONLIN LLP
                                             s/Brandon E. Thompson
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                                             Rachel L. Barrett (397313)
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                                          ARTHUR, CHAPMAN, KETTERING,
                                          SMETAK & PIKALA, P.A.
Dated: 2/4/22
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                                          Attorneys For Defendant CentraCare
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